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 8                             UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    CHAD ANDRE CHRISTENSEN,                     No. 2:23-cv-02846-DJC-DB
12                    Petitioner,
13          v.                                    ORDER
14    JUDGE IN THE STATE OF
      CALIFORNIA,
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                      Respondent.
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           Petitioner, a state prisoner proceeding pro se, filed an application for a writ of
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     habeas corpus pursuant to 28 U.S.C. § 2254. The matter was referred to a United
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     States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.
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           On March 21, 2024, the Magistrate Judge filed Findings and Recommendations
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     herein which were served on Petitioner and which contained notice to Petitioner that
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     any objections to the Findings and Recommendations were to be filed within fourteen
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     days. Petitioner has not filed objections to the Findings and Recommendations.
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           The Court has reviewed the file and declines to adopt the Findings and
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     Recommendations. The Magistrate Judge’s Findings and Recommendations were
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     based on the fact that mail was returned as undeliverable, with an indication that
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     Plaintiff had been released from custody. However, the Findings and
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         Case 2:23-cv-02846-DJC-DB Document 8 Filed 05/31/24 Page 2 of 2


 1   Recommendations were served by mail on March 21, 2024 and April 22, 2024, and

 2   neither were returned as undeliverable. Moreover, the Sacramento County Sheriff’s

 3   Office Inmate Information website1 indicates that Plaintiff is once again in custody,

 4   such that the address on file is correct. Plaintiff is cautioned, however, that he must

 5   keep the Court apprised of his current address at all times and that failure to properly

 6   update his address may result in dismissal of this action for failure to prosecute. See

 7   Local Rule 183(b).

 8           Accordingly, IT IS HEREBY ORDERED that:

 9           1. The Findings and Recommendations (ECF No. 43) are NOT ADOPTED; and

10           2. This action is referred back to the Magistrate Judge for all further pretrial

11   proceedings.

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             IT IS SO ORDERED.
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14   Dated:     May 31, 2024
                                                   Hon. Daniel J. Calabretta
15                                                 UNITED STATES DISTRICT JUDGE
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      The Sacramento County Sheriff’s Office Inmate Information website can be accessed
28   at: https://www.sacsheriff.com/InmateInformation/
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